3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 1 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 2 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 3 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 4 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 5 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 6 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 7 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 8 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 9 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 10 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 11 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 12 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 13 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 14 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 15 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 16 of 17
3:05-cr-01011-JFA   Date Filed 09/21/05   Entry Number 2   Page 17 of 17
